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Approved:   -&.LJ•
            ALEXANDERL
            Assistant United States Attorney

Before:     THE HONORABLE ONA T. WANG
            United States Magistrate Judge
            Southern District of New York

                                    -   -   -   X
                                                    SEALED COMPLAINT
 UNITED STATES OF AMERICA
                                                    Violations of
          - v. -                                    18 u.s.c.
                                                    §§ 115(a) (1) (B) &
 JONATHAN LOPEZ,                                    ( b) ( 4 ) , 8 7 5 ( c) , and 2

                       Defendant.                   COUNTY OF OFFENSE:
                                                    BRONX
                            ------x
SOUTHERN DISTRICT OF NEW YORK, ss.:

     MAXIME VALES, being duly sworn, deposes and says that.he is
a Senior Inspector with the United States Marshals Service
(nUSMS"), and charges as follows:

                                COUNT ONE
                   (Threats Against Federal Officials)

     1.   From at least in or about August 2019 up to and
including in or about September 2019, in the Southern District
of New York and elsewhere, JONATHAN LOPEZ, the defendant,
knowingly did threaten to assault, kidnap, and murder a United
States judge, with intent to impede, intimidate, and interfere
with such judge while engaged in the performance of official
duties, and with intent to retaliate against such judge on
account of the performance of official duties, to wit, LOPEZ
posted on the Internet threats to kill and otherwise harm a
Senior United States District Judge for the Western District of
Pennsylvania.

  (Title 18, United States Code, Sections 115 (a) (1) (B)                 &   (b) (4)
                             and 2.)

                               COUNT TWO
                          (Interstate Threats)

     2.   From at least in or about August 2019 up to and
including in or about September 2019f in the So¼th~.n ~1utiiGt
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of New York and elsewhere, JONATHAN LOPEZ, the defendant,
knowingly and intentionally did transmit in interstate and
foreign commerce a communication containing a threat to injure
the person of another, to wit, LOPEZ posted on the Internet
threats to kill and otherwise harm a Senior United States
District Judge for the Western District of Pennsylvania.

      (Title 18, United States Code, Sections 875(c) and 2.)

     3.   The bases for my knowledge and for the foregoing
charge are, in part, described in the following paragraphs.

     4.    I am a Senior Inspector with the Protective
Intelligence Unit of the USMS.   I have been employed by the USMS
for approximately 10 years.   This affidavit is based on my
personal participation in the investigation of this matter, my
conversations with law enforcement agents and other individuals,
and my examination of reports and other records.   Because this
affidavit is being submitted for the limited purpose of
establishing probable cause, it does not include all the facts
that I have learned during the course of my investigation.
Where the contents of documents and the actions, statements, and
conversations of others are reported in this complaint, they are
reported in substance and in part, except where otherwise
indicated.

                          The Civil Action

     5.   Based on my review   of law enforcement records, my
review of court records, and   my conversations with other law
enforcement agents and other   individuals, I have learned the
following information, among   other things:

          a.   On or about November 3, 2014, JONATHAN LOPEZ, the
defendant, filed a civil complaint (the "Civil Action") against
CSX Transportation, Inc. ("CSX") in the Court of Common Pleas,
Cambria County, Pennsylvania.  LOPEZ alleged, in part and in
substance, that he was struck by a freight train operated by CSX
and that CSX was negligent.

          b.   On or about November 26, 2014, CSX removed the
Civil Action to federal court.  The federal action was assigned
to a Senior United States District Judge for the Western
District of Pennsylvania (the "Judge").

          c.   On or about February 14, 2019, CSX moved for,
among other things, an independent medical examination of
LOPEZ's competency.

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          d.   On or about February 20, 2019, LOPEZ's attorney
(the "Attorney") in the Civil Action requested leave to withdraw
as counsel. On or about February 22, 2019, the Judge granted
the Attorney's request on the ground that the relationship
between LOPEZ and the Attorney had irretrievably broken down.

          e.   On or about August 23, 2019, at a hearing before
the Judge, LOPEZ admitted, among other things, that he had twice
brandished a firearm at the Attorney in or about 2015. After
the hearing, the Judge granted CSX's motion for an independent
medical examination of LOPEZ's competency.

                         The Initial Threats

     6.   Based on my review of law enforcement records, my
review of business records, and my conversations with other law
enforcement agents and other individuals, I have learned the
following information, among other things:

          a.   On or about August 8, 2019, JONATHAN LOPEZ, the
defendant, posted on his Facebook page the following:

         I walk out that court room empty handed You
         better kill me the true is if I can't live
         I'm ready to die. I'm ready bro this is for
         my name and my respect.      . Ima go to
         court Csx cheats there way to win then my
         choice is your decision if I'm ripped off
         one last time there are no words to be
         expressed. If [the Judge] and [the Attorney]
         thinks he's going to retire with my misery
          you mi5con5true.   if you think you going to
          keep me in servitude you mistaken. you have
          months Times up.

          Mark my words.

          Csx vs Lopez

On the same date, LOPEZ also posted two videos of police shoot-
outs.
          b.   On or about August 10, 2019, LOPEZ posted on his
Facebook page the following lyrics from the song "Beware" by the
artist "Big Punisher:"

          All of us die, some of us kill, even
          massacred

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             Who wanna try? Punisher will if you ask for
             it

             I'm hazardous for your health and hell's
             your next stop

             For real my shit's cocked the world has just
             stopped

Attached to these lyrics were captions LOPEZ authored and edited
numerous times, including:  "You been warn," "You been warned,"
"You been warned I'm not fucking around," and "You been warned
I'm not fucking around you better peep the mirror homie." On
the same date, LOPEZ also posted:  "If I'm not who iam identity
DEF and I'm subject to prison you fucking ass hoes word is born
you better give me my fucking money. You got two months bitch
Jonathan Lopez vs Csx."

          c.    On or about August 15, 2019, LOPEZ posted on his
Facebook page a Youtube video showing a photograph of the Judge.
Shortly thereafter, LOPEZ again posted the lyrics from the song
"Beware."   (See i 6(b)).

                           Lopez Is Interviewed

     7.   Based on my review of law enforcement records and my
conversations with other law enforcement agents and other
individuals, I have learned the following information, among
other things:

             a.   After the court hearing on or about August 23,
2019,   JONATHAN LOPEZ,   the defendant, voluntarily met with Deputy
United States Marshals at the United States District Court for
the Western District of Pennsylvania.

          b.   The Deputy United States Marshals informed LOPEZ
that his Facebook posts were inappropriate and could result in
criminal charges.

          c.   LOPEZ stated, in part and in substance, that his
Facebook account was hacked and not all of the posts were made
by him.  LOPEZ nevertheless agreed to take down the threatening
posts and to refrain from posting further threatening messages.

          d.   LOPEZ further stated, in part and in substance,
that he.at one point owned three firearms but had sold them.
LOPEZ stated that he subsequently purchased another firearm out
of concern that a "hit" had been put out on him.

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                         The Further Threats

     8.   Based on my review of law enforcement records, my
review of business records, and my conversations with other law
enforcement agents and other individuals, I have learned the
following information, among other things:

          a.    On or about September 11, 2019, JONATHAN LOPEZ,
the defendant, posted on his Facebook page a Youtube video
showing a photograph of the Judge.   On the same date, LOPEZ
posted the following:

          it's almost over wherever God intend me to
          be let his will be done. If I can't be
          compensated and live my Life. Then the
          result is your consequences. I'm handling
          this situation as a gentleman in the
          contrary of disrespect for the past 6 years.
          I'm asking you polietly for compensation for
          my injuries. [The Judge] has removed my
          right to represent my case on September 23,
          2019. However I'll will be at court that day
          for insurance for the duration of court. If
          in case close the grievance will be file. If
          the bar does not preceed a investigation
          against [the Judge] due to his imperium no
          words need to be verbalized. If you can't
          notice I'm being framed you have poor
          discernment or you corrupted yourself. My
          honesty is not is not respected.

          Jonathan Lopez vs. Csx

          Csx vs Jonathan Lopez

LOPEZ wrote in an accompanying caption:  "Exhibit that and get
that thru your fucking head watch me." On the same date, LOPEZ
also posted:  "I could live like a coward or die with honor.
Live as a slave or die free with the Gun."

          b.   On or about September 13, 2019, LOPEZ posted on
his Facebook page the following, among other things:

               i.   An image of a helmet with the text "Born to
Kill," and a screenshot from the movie "Full Metal Jacket."

                ii.   A complaint form for the Third Circuit.


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               iii. Two Youtube videos depicting individuals
shooting AK-47 firearms.

                iv.   "You been warn mother fucker Csx vs Lopez.n

          c.   On or about September 14, 2019, LOPEZ posted on
his Facebook page the following:

               . Evidence note that indeed [the
          Attorney] and [the Judge] has measured the
          calendar to calculate to delay to pospone my
          case and to over see the expiration of my
          complaint to not have a trial date.
          Like I stated before I don't use number or
          articles to communicate to murder for money
          however if I'm push to kill I will gladly
          take that action in my own. I am not God or
          a saint I am human. I do pray on a daily and
          at the same time I will fuck you up.

          Jonathan Lopez

          d.    On or about September 15, 2019, LOPEZ posted on
his Facebook page a photograph of himself holding a black
ballistic vest.

     9.   Based on my review   of law enforcement records, my
review of court records, and   my conversations with other law
enforcement agents and other   individuals, I have learned the
following information, among   other things:

          a.   In connection with the Civil Action, in which he
is currently proceeding prose, JONATHAN LOPEZ, the defendant,.
provided the United States District Court for the Western
District of Pennsylvania with the address of a particular
apartment in the Bronx, New York (the "Bronx Apartmentn).

          b.   On or about August 8, 2019, the same date that he
posted the threat described in Paragraph 6(a), LOPEZ posted on
his Facebook page two screenshots showing his driving activity
on a map.  The maps showed LOPEZ within the Southern District of
New York.

          c.   On or about September 17, 2019, in the morning,
law enforcement agents observed LOPEZ exiting the Bronx
Apartment and departing in a black sedan.




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                         WHEREFORE, deponent respectfully requests that a warrant
                    issue for the arrest of JONATHAN LOPEZ, the defendant, and that
                    he be arrested and imprisoned, or bailed, as the case may be.




                                            ~ - - -
                                              Senior Inspector
                                              United States Marshal Service




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